

Matter of James G. (2020 NY Slip Op 07272)





Matter of James G.


2020 NY Slip Op 07272


Decided on December 03, 2020


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 03, 2020

Before: Renwick, J.P., Manzanet-Daniels, Mazzarelli, Singh, Scarpulla, JJ. 


Docket No. D-3920/18 Appeal No. 12519 Case No. 2020-00139 

[*1]In the Matter of James G., a Person Alleged to be a Juvenile Delinquent, Appellant. Presentment Agency.


Dawne A. Mitchell, The Legal Aid Society, New York (Raymond E. Rogers of counsel), for appellant.
James E. Johnson, Corporation Counsel, New York (Cynthia Kao of counsel), for presentment agency.



Appeal from order, Family Court, Bronx County (Peter J. Passidomo. J.), entered on or about December 12, 2019, which granted on consent respondent's petition to extend appellant's placement with the Administration for Children's Services for an additional five and one-half month period, unanimously dismissed, without costs, as moot.
Because appellant has completed his placement, and because he is not challenging any juvenile delinquency adjudication, this appeal is moot (see e.g. Matter of Omari W., 104 AD3d 460 [1st Dept 2013]). We have considered and rejected appellant's arguments on the subject of mootness. In any event, the extension of placement was not procedurally defective, and it was a provident exercise of discretion.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 3, 2020








